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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS

  UNITED STATES OF AMERICA,                            §
                                                       §
                                                       §
  V.                                                   § Case Number 6:17-CR-00011-RC
                                                       §
                                                       §
  QUINTUS DEWAYNE SHAW (1),                            §
                                                       §

             FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                  BEFORE THE UNITED STATES MAGISTRATE JUDGE



       By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

On May 23, 2017 this cause came before the undersigned United States Magistrate Judge for entry

of a guilty plea by the defendant, QUINTUS DEWAYNE SHAW (1), on Counts Two and Three

of the charging Indictment filed in this cause.

       Count Two of the Indictment charges that, on or about March 16, 2016, in the Eastern District

of Texas, QUINTUS DEWAYNE SHAW (1), defendant herein, aided and abetted by one


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another, did knowingly, intentionally and unlawfully possess with intent to distribute and did

distribute a quantity of a mixture or substance containing a detectable amount of cocaine base, also

known as crack cocaine, a Schedule II controlled substance, within 1,000 feet of the real property

comprising the City Park playground, all in violation of 21 U.S.C. §§ 841(a)(1) and 860(a) and 18

U.S.C. § 2.

     Count Three of the Indictment charges that on or about January 12, 2017, in the Eastern

District of Texas, QUINTUS DEWAYNE SHAW (1), defendant herein, did knowingly and

unlawfully possess a firearm, specifically: an AMT, model Backup, .380 caliber pistol, bearing

serial number DA28011; which firearm had been shipped in interstate commerce, and the

Defendant possessed the firearm after having been convicted of a crime punishable by a term of

imprisonment exceeding one year, specifically the felony offenses of: Possession of a Controlled

Substance, in Gregg County, Texas, in 2011; Possession of a Controlled Substance, in Gregg

County, Texas, in 2012; and Criminal Mischief and Evading Arrest in Gregg County, Texas, in

2013, in violation of 18 U.S.C. § 922(g)(1).

     Defendant, QUINTUS DEWAYNE SHAW (1), entered a plea of guilty to Counts Two and

Three of the Indictment into the record at the hearing.

     After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

     a. That Defendant, after consultation with counsel of record, has knowingly, freely and

voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

     b. That Defendant and the Government have entered into a plea agreement and a plea

agreement addendum which were addressed in open court and entered into the record.


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     c. That Defendant is fully competent and capable of entering an informed plea, that

Defendant is aware of the nature of the charges and the consequences of the plea, and that the plea

of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant personally

in open court, the Court determines that Defendant’s plea is voluntary and did not result from

force, threats or promises. See FED. R. CRIM. P. 11(b)(2).

     d.    That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and Defendant

realizes that this conduct falls within the definition of the crimes charged under 21 U.S.C. Sections

841(a)(1) and 860(a), 18 U.S.C. Section 2 and 18 U.S.C. Section 922(g)(1).



                                    STATEMENT OF REASONS

     As factual support for Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

this case were to proceed to trial the Government would prove beyond a reasonable doubt, through

the sworn testimony of witnesses, including expert witnesses, as well as through admissible

exhibits, each and every essential element of the crime charged in Counts Two and Three of the

Indictment. The Government would also prove that the defendant is one and the same person

charged in the Indictment and that the events described in Indictment occurred in the Eastern

District of Texas and elsewhere. The Court incorporates the proffer of evidence described in detail

in the factual basis and stipulation in support of the guilty plea.

     Defendant, QUINTUS DEWAYNE SHAW (1), agreed with and stipulated to the evidence

presented in the factual basis. Counsel for Defendant and the Government attested to Defendant’s

competency and capability to enter an informed plea of guilty. The Defendant agreed with the




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evidence presented by the Government and personally testified that he was entering his guilty plea

knowingly, freely and voluntarily.

                                RECOMMENDED DISPOSITION

     IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned determines

to be supported by an independent factual basis establishing each of the essential elements of the

offense charged in Counts Two and Three of the charging Indictment on file in this criminal

proceeding. The Court also recommends that the District Court accept the plea agreement and

plea agreement addendum pursuant to the Local Rules for the United States District Court for the

Eastern District of Texas and Federal Rule of Criminal Procedure 11(c). Accordingly, it is further

recommended that, Defendant, QUINTUS DEWAYNE SHAW (1), be finally adjudged as guilty

of the charged offense under 21 U.S.C. Sections 841(a)(1) and 860(a), 18 U.S.C. Section 2 and

18 U.S.C. Section 922(g)(1).

     Defendant is ordered to report to the United States Probation Department for the preparation

of a presentence report. At the plea hearing, the Court admonished the Defendant that the District

Court may reject the plea and that the District Court can decline to sentence Defendant in

accordance with the plea agreement and addendum, the federal sentencing guidelines and/or the

presentence report because the sentencing guidelines are advisory in nature. The District Court

may defer its decision to accept or reject the plea agreement and addendum until there has been an

opportunity to consider the presentence report. See FED. R. CRIM. P. 11(c)(3). If the Court rejects

the plea agreement, the Court will advise Defendant in open court that it is not bound by the plea

agreement and Defendant may have the opportunity to withdraw the guilty plea, dependent upon

the type of the plea agreement. See FED. R. CRIM. P. 11(c)(3)(B). If the plea agreement is rejected

and Defendant still persists in the guilty plea, the disposition of the case may be less favorable to


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Defendant than that contemplated by the plea agreement or addendum. Defendant has the right to

allocute before the District Court before imposition of sentence.

                                           OBJECTIONS

     Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen (14)

days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1). A party’s failure to

object bars that party from: (1) entitlement to de novo review by a district judge of proposed

findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988), and

(2) appellate review, except on grounds of plain error of unobjected-to factual findings and legal

conclusions accepted by the district court, see Douglass v. United Servs. Auto. Ass’n., 79 F.3d

1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded by Congress and the

courts require that, when a party takes advantage of his right to object to a magistrate’s findings

or recommendation, a district judge must exercise its nondelegable authority by considering the

actual evidence and not merely by reviewing and blindly adopting the magistrate’s report and

recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir. 1983); United States v.

Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).




       So ORDERED and SIGNED this 23rd day of May, 2017.




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